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Pangea Industries, Inc.
Proposed Interim Budget
September 2, 2019 through September 28, 2019

Income                                  Sept 2 ‐ Sept 7    Sept 8 ‐ Sept 14     Sept 15 ‐ Sept 21   Sept 22 ‐ Sept 28


Sales                                                              $3,000.00            $2,100.00          $35,000.00
Receivables Collected
Equipment Sales                                $3,500.00

Gross Income                                   $3,500.00           $3,000.00            $2,100.00          $35,000.00

Expenses

Salaries and Wages
Child Support
Payroll Liabilities
Rent
Contract Labor                                  $900.00                                   $900.00
TWC - Payroll Tax
Insurance
COGS
Office Expenses                                   $80.00
Office Supplies                                   $95.00                                  $100.00             $100.00
Bank Fees & Charges
Utilities                                       $964.00
Telecommunications                                                   $700.00              $701.00
Repairs and Maintenance                         $125.00              $125.00              $125.00             $125.00
Professional Fees
License & Permits                                                  $1,888.00
Legal Fees
Transportation                                    $10.00               $10.00              $10.00              $10.00
Uniforms & Mats
Waste
Property Taxes
Sales Tax
Franchise Tax
Cash Advances from PIG to PI
King Cash Group
Eugenio Garza
Romer Bacho
910 Pinafore Lane - Carl Blackwood
Dividends
Other Cash Disbursed

Total Expenses                                 $2,174.00           $2,723.00            $1,836.00             $235.00

Net Income                                     $1,326.00             $277.00              $264.00          $34,765.00

Ending Cash Balance on Hand                     $841.71            $1,118.71            $1,382.71          $36,147.71
(Beginning Balance: ‐$484.29)
